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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                          )
ATLAS, INC., et al.,      )             Case No.: 1:17-cv-01953-RDM
                          )
           Plaintiffs,    )             Hon. Randolph D. Moss
                       v. )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                          )
           Defendants.    )
                          )

    DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 33:
       Declaration of Dr. Terry L. Von
                  Thaden
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO                    Civil Action No. 1:17-CV-01953 RDM
WORDLWIDE, INC.,

Plaintiffs,

                       v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,

Defendants.

                    DECLARATION OF DR. TERRY L. VON THADEN,

        I, Dr. Terry von Thaden, do hereby declare under penalty of perjury pursuant to 28

U.S.C. § 1746 the following:

        1.     I am a Human Factors scientist at the University of Illinois in the Illinois Fire

Service Institute with faculty appointments in Industrial and Enterprise Systems Engineering,

Psychology, and the School of Information Sciences. I was a professor in the Aviation Human

Factors Division at the University of Illinois (An FAR Part 141 accredited aviation program)

from 2004 - 2013. I have a lifetime of experience in the aviation industry and have been formally

researching safety culture in aviation since 1995. I am the Owner of Illumia Corporation, a

consultancy company that performs organizational safety culture assessments, among other

human factors services such as accident investigation and fatigue management education. My

research involves accident investigation and distributed information practice in safety and time-

critical environments including first response, aviation, medical, nuclear, security, military, and
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transportation operations. I have developed tools and methods used to benchmark and

longitudinally track safety culture and decision making in more than 250 organizations in these

industries. My assessment tool (SCISMS®) was developed at the University of Illinois under

multi-year government research awards from the Federal Aviation Administration to determine

the measurement parameters of safety culture. I serve, or have served on numerous government-

industry working groups and editorial boards, and maintain numerous academic society

memberships. Among these, I have served on the FAA’s Safety Management Systems (SMS)

Focus Group and assisted with beta testing SMS principles, such as Gap Analysis and the Air

Transport Oversight System (ATOS), and Safety Culture assessment. I have developed

maintenance Fatigue Risk Management guidelines for the Federal Aviation Administration under

the Maintenance Fatigue Working Group. I have served on the Flight Safety Foundation and also

the Air Force Scientific Advisory Board as well as the Board of Trustees at Daniel Webster

College. I serve as an expert for the Government Accountability Office and National Academy

of Sciences-appointed Ad Hoc committees on aviation safety issues.

       2.      I was retained by the APA Local 1224 to prepare a report of my expert scientific

opinions regarding general fatigue and safety cultural issues in reference to the above-referenced

matter of Atlas Air, Inc., et al. v. International Brotherhood of Teamsters, et al., Case No., 1:17-

cv-01953-RDM. A true and correct copy of my report is attached hereto as von Thaden Exhibit

“1.”

       I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

Dated: 23 October 2017                        Signed:
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                                                    The Enlightened Approach to Safety


                         Statement of Terry L. Von Thaden, Ph.D
I, Terry L. von Thaden PhD, declare the following is true and correct:
I am a Human Factors scientist at the University of Illinois in the Illinois Fire Service Institute
with faculty appointments in Industrial and Enterprise Systems Engineering, Psychology, and the
School of Information Sciences. I was a professor in the Aviation Human Factors Division at the
University of Illinois (An FAR Part 141 accredited aviation program) from 2004 - 2013. I have a
lifetime of experience in the aviation industry and have been formally researching safety culture
in aviation since 1995. I am the Owner of Illumia Corporation, a consultancy company that
performs organizational safety culture assessments, among other human factors services such
as accident investigation and fatigue management education. My research involves accident
investigation and distributed information practice in safety and time-critical environments
including first response, aviation, medical, nuclear, security, military, and transportation
operations. I have developed tools and methods used to benchmark and longitudinally track
safety culture and decision making in more than 250 organizations in these industries. My
assessment tool (SCISMS®) was developed at the University of Illinois under multi-year
government research awards from the Federal Aviation Administration to determine the
measurement parameters of safety culture. I serve, or have served on numerous
government-industry working groups and editorial boards, and maintain numerous academic
society memberships. Among these, I have served on the FAA’s Safety Management Systems
(SMS) Focus Group and assisted with beta testing SMS principles, such as Gap Analysis and the
Air Transport Oversight System (ATOS), and Safety Culture assessment. I have developed
maintenance Fatigue Risk Management guidelines for the Federal Aviation Administration
under the Maintenance Fatigue Working Group. I have served on the Flight Safety Foundation
and also the Air Force Scientific Advisory Board as well as the Board of Trustees at Daniel
Webster College. I serve as an expert for the Government Accountability Office and National
Academy of Sciences-appointed Ad Hoc committees on aviation safety issues. My abbreviated
CV is appended to this document.
I was retained by the APA Local 1224 to prepare a report of my expert scientific opinions
regarding general fatigue and safety cultural issues in reference to the matter of ATLAS AIR,
INC. and POLAR AIR CARGO WORDLWIDE, INC., v. INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL BROTHERHOOD OF TEAMSTERS, AIRLINE DIVISION; and AIRLINE
PROFESSIONALS ASSOCIATION OF THE INTERNATIONAL BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224.




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                                                       The Enlightened Approach to Safety
I have read the Memorandum of Law in Support of Plaintiff’s Motion for a Preliminary
Injunction in Civil Action No. 1:17-cv-1953, including Dr. Lee’s report, and discussed issues in
this case with Russ Leighton, Daniel Wells, Laurie Ruiz de Castilla, and Kevin McCabe. I have
read the statements of Kevin J. McCabe, which includes participant statements, and Daniel W.
Akins, and I am in agreement with their assessments.

Observations

1) How systemic is the fatigue issue at the airline? We cannot know with the available data.

Dr. Lee’s analysis of fatigue call data indicators based on localized past instances of calling in
fatigued considered in isolation of other contributing human factors cannot accurately
determine occurrences of fatigue experienced by flight crews at the airline.

       Known –
       # of reports filed through FRMC
       # of flight turn downs due to fatigue call in
       # of flights due to sick call in

       Unknown –
       # of personnel who do not voluntarily report fatigue
       # of personnel who are fatigued but do not turn down flights due to fatigue
       # of instances of fatigue not reported –pilots may be fatigued more than once on a trip
       sequence

       Unknown –
       # of personnel who do not report being sick or otherwise unfit for duty
       # of personnel who do not turn down flights due to illness or otherwise unfit for duty
       # of instances of sickness or other situations involving physiological/psychological
       compromise not reported

       Unknown –
       # of instances of micro sleeps in cockpit
       # of instances of delayed response in cockpit due to fatigue
       # of instances of deviations, incidents due to fatigue, but where fatigue is not cited


2) Regarding Fatigue issues: While data regarding instances of fatigue are collected in the
   reporting system, we cannot know the true rate without knowing more about the
   prevalence of fatigue among flightcrews at the company. No objective or subjective
   measures (biometric, physiological, psychometric) have been taken at the company to study
   or assess crewmember fatigue. Additionally, there is sound scientific evidence on which



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   Fatigue Risk Management Programs were developed with the FAA that indicates that duty
   time interacts with sleep loss, time of day, time spent awake since last sleep, duration of
   last sleep, time on task, workload (both low and high), environmental conditions, type of
   work schedule, schedule rotation, schedule changes, and other causes of fatigue, and that
   each should be considered when developing work schedules. For Dr. Lee to effectively
   model a statistical analysis demonstrating absence of fatigue factors, these data and more
   would need to be taken into consideration.

3) Regarding Safety Culture: The FAA’s Part 121 and Part 117 duty regulations reflect a
   minimum standard legal requirement. There is nothing prohibiting a company from setting
   its own custom standard minimum rest profile based on scientifically collected evidence
   from a FRMC that goes above and beyond the minimum requirement.

   We cannot know the prevalence of reporting or the Safety Culture of the company since no
   safety cultural assessments have been performed at the airline. Therefore, it cannot be
   determined if increased reporting and flight turn downs reflects a work slowdown or if it
   reflects the positive aspects of pilots adopting and enacting principles of the Fatigue Risk
   Management System and voluntary reporting. Likewise, in years when reporting is seen as
   less frequent, it cannot be determined if this means fewer fatigue incidents happen, or that
   people aren’t reporting.

   There is no way to definitively assert whether an increase in flight turn downs/reports
   indicates a higher degree of trust in the Fatigue Risk Management System and a Safety
   Culture that is working positively, or whether there is an increase in the instances of fatigue,
   or both. This argument also holds true for the determination of whether it represents a
   work action.

   Similarly, in years where the number of fatigue reports may be lower, it cannot be
   determined if it is due to lack of trust in the Fatigue Risk Management System and reflective
   of a poorer Safety Culture, or if there are fewer instances of fatigue, or both. Additionally,
   due to a variety of barriers that face flight crews on the road, such as lack of opportunity to
   report (e.g., no internet connection to log into the system) or failure of prospective memory
   (e.g., pilots plan to report after the flight but forget), or mission mentality and
   compartmentalization (just suck it up and get the job done), fear of retaliation (punishment,
   harassment, reprimand, corrective action), shame or stigma (e.g., “I was unfit for duty and
   shouldn’t have taken the flight”), there is no way to determine or extrapolate the broader
   number of occurrences that are never reported. When these issues (work arounds,
   accepting flights, deviations, etc.), impaired cognitive processing, diminished awareness,


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incapacitation, stress, etc. occur frequently they are often normalized and fail to appear out
of the ordinary.

We cannot know how the safety culture at a company affects reporting without
study/assessment of the safety culture. Many safety studies point to underreporting of
safety concerns and issues in high risk safety critical industries. Ultimately, to make progress
in reporting events, pilots must trust and feel confident that submitted reports will be acted
upon, and should be compelled to understand event reporting as a shared community
responsibility. When reporting systems are in their infancy is when they are most
vulnerable. Any use of that information outside of its intended use will assuredly have a
negative effect on the safety culture.

The FRMC’s charge includes determining whether a fatigue call was made for legitimate
reasons. Since its inception in 2013, the FRMC has accepted all but one or two each
fatigue reports submitted for review. (I understand that the FRMC referred those one or
two unaccepted fatigue reports as legitimate sick-MED calls.) The FRMC, and subsequently,
the airline, have therefore accepted the fatigue reports cited in the complaint as valid.
Voluntary programs are instantiated to collect data from pilots based on a mutual trust.
When the airline suggests a pilot work slowdown disguised as illegitimate fatigue calls and
relies on information voluntarily submitted and already accepted under the Airline’s FRMP,
it erodes trust in the FRMC and overall safety culture of the airline. Its accusations about
orchestrated work slowdowns, concerning purported improper pilot behavior and voluntary
reporting will have a chilling negative effect on trust and the safety culture (which includes
the reporting culture) of the airline and can have lasting and deleterious effects on the
safety culture.

Cognitive dissonance may also play a part in non-reporting. According to Festinger (1957)
dissonance is a psychological conflict resulting from incongruous beliefs and attitudes held
simultaneously. Elkin and Leippe (1986) discuss that dissonance creates a stressful
physiological arousal state, but attitude change sustains rather than reduces the arousal.
It is suggested that if dissonance is a drive state, drive reduction typically may be
accomplished through gradual cognitive change or forgetting. In order to reduce the
discomfort of dissonance, one may try to forget, reduce, or rationalize the importance of
the dissonance. In the case of flying while fatigued, people may feel the need to maintain
their self-identity both privately and outwardly. To the extent that dissonance involves a
threat to self-image, the magnitude of dissonance will be heightened both by the choice in
engaging in an attitude-discrepant act and personal responsibility for its foreseeable
negative outcomes. As an example, a person may rationalize based on faith in another’s


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   behavior, rather than evidence to the contrary: “We were both tired, but we made the
   flight anyway so we must have been safe.” Research has demonstrated that discordant
   behaviors that occur under the guise of normal activity are often reduced in their
   importance to maintain cognitive consonance. People persuade themselves a transgression
   is alright due to mission mentality, going the extra mile for the company, and even just to
   be seen as complaint and likeable. This dissonant behavior can also be associated with
   employees who “go the extra mile” and volunteer for assignments or fail to call off a flight
   when they are fatigued. Realization of this behavior may result in future reluctance to
   accept the personal behaviors that were once so commonplace.

4) Checks and balances: To combat fatigue, airlines have adopted Fatigue Risk Management
   Programs (FRMP) to promote awareness and fatigue-mitigation strategies. Prior to this,
   pilots who were experiencing fatigue might call off a flight “sick.” The adoption of FRMP
   allows airlines to collect data on fatigue circumstances to develop effective
   countermeasures and promote solutions for alertness and crew health. These programs rely
   heavily on voluntarily submitted reports from pilots.

   According to Atlas’s FRMP:

       All employees are encouraged to report safety-related concerns through the available
       reporting mechanism. It is of particular note that all reporting systems are non-punitive
       in nature, subject to the following limitations:

              □       Must not involve intentional disregard for safety
              □       Must not involve intentional violation of regulations
              □       Must not involve criminal activity
              □       Must not involve substance abuse
              □       Must not have been intentionally falsified

       This culture helps align organizational efforts toward the ultimate goal of improved
       safety. When employees are consulted throughout the development of the policy and
       are supportive of the process, we find it more likely they will take a positive, proactive
       approach to fatigue risk management at the individual as well as organizational levels.

   A pilot who calls in fatigued must file a report with the Fatigue Risk Management
   Committee (FRMC), which is then reviewed and accepted or denied. Each action has a host
   of determinants it has to meet (listed above) to be accepted for review. Each of the call offs
   described met the review criteria and was reviewed by the FRMC who accepted each call



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   off. The FRMC, and subsequently, the airline, have previously accepted the fatigue reports
   cited in the complaint as valid.

5) Nutrition: There may be alternate positive explanations for pilots rejecting crew meals. The
   purpose of FRMC is to provide education and strategies for recognizing fatigue, improving
   alertness, and maintaining health. Pilots who have adopted this positive message may be
   more aware of the need to assure proper nutrition. Scientific study suggests that fatigue
   and irregular work schedules result in people being four to five times more likely to develop
   a gastrointestinal disorder such as indigestion, heartburn, flatulence, upset stomach, or
   constipation. The digestive system slows at night making it more difficult to digest food.
   People who have extended work hours tend to eat at irregular times, which can lead to an
   increase in digestive issues.

Safety Culture and Safety Management Systems

Safety culture is typically defined as a group-level construct with various dimensions pertaining
to the occupation studied. Safety culture has been defined as the enduring value and
prioritization of worker and public safety by each member of each group and in every level of
an organization. It refers to the extent to which individuals and groups will commit to personal
responsibility for safety; act to preserve, enhance and communicate safety information; strive
to actively learn, adapt and modify (both individual and organizational) behavior based on
lessons learned from mistakes; and be held accountable or strive to be honored in association
with these values (von Thaden, Kessel & Ruengvisesh, 2008, adapted from Wiegmann, Zhang,
von Thaden, Sharma & Mitchell, 2002:8). This definition combines key issues such as personal
commitment, responsibility, communication, and learning in ways that are strongly influenced
by processes instantiated by upper-level management, but also influence the behavior of
everyone in the organization. It should be noted that the definition of safety culture is stated in
neutral terms. As such, the definition implies that organizational culture exists on a continuum
and that organizations can have either a good or poor safety culture. Safety culture influences
behavior across levels within an organization. The overall safety culture of an airline may drive
resource management decisions, shape organizational climate, and influence the development
of organizational processes. It implies that a safety culture in any organization basically exists,
but is expressed in varying quality. Safety culture represents a complex understanding wherein
an organization must evaluate its strengths and vulnerabilities to promote the creation of a
consistent, positive safety culture. To promote a strong culture of safety, an organization must
proactively train the positive characteristics and inform the community of the priority of safety
in operations (e.g., the safety climate). Therefore indicators of organizational safety culture
must be specifically identified and clearly measured for any training or procedural changes to



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be introduced and accepted into the organization. Without identification and measurement of
the organization’s safety culture, effective implementation of safe practices may be hindered
by unidentified barriers.

In aviation, as in other high reliability, safety critical systems, it is understood that errors are
inevitable. In prior decades, human error has been considered a root cause of accidents in
complex systems. As the study of accident causation and human error has advanced, the active
failures of front line operators have become considered outcomes of latent system deficiencies
(e.g., Reason). To understand conditions that yield errors, it is necessary to evolve beyond the
limited scope of tracing the erroneous actions of individuals. For every observed error in a
system, countless undetected hazards or failures lie in wait to breach the system’s defenses.
Thus research has focused on reducing the adverse effects of error on the outcome of a system
breach by producing meticulously developed tools, technologies, procedures, and redundancies
to provide buffers in a system to incorporate error tolerance.

With modern aviation operations growing ever more complex in times of increased demand for
services with decreased resources, organizational factors and regulatory oversight play
significant roles in the foundation of safety in high-risk systems. Several high profile accidents in
the late twentieth century brought considerable attention to the role of organizational factors
and regulatory oversight in accident causation. Accordingly, the FAA’s Systems Approach for
Safety Oversight (SASO) was established to provide a comprehensive, integrated procedure to
encompass a national standard of system safety involving regulation and oversight of
commercial aviation organizations. Key data gathering areas for identification, analysis, and
prioritization of information to mitigate hazards and risks and promote opportunities include:
procedures/processes, people, technology, regulations/guidance, facilities, materials, tools,
equipment, and performance management.

As aviation organizations strive to maintain economic viability in a varied global environment
they must continually modify their business processes and even their workforce to provide
services in times of accelerated aviation activity paired with diminishing resources. While it may
be strategically advantageous to reengineer business processes from time to time in order to
remain vitally functional, ongoing and updated safety efforts must not be overlooked. As the
aviation industry continues to change, safety efforts must also remain a business priority. While
there are a number of economic concerns that may influence an airline’s prioritization of the
culture of safety, a difficult economic situation may lead an airline to redirect resources away
from functions that are essential to safe operations, thus pushing the limits of the current state
of safety. Managing safety has become increasingly more important as aviation organizations
diversify. Thus aviation has adopted Safety Management Systems (SMS) to espouse a quality


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management approach to complex aviation safety and business relationships. SMS provides an
organizational framework to effectively manage safety and serves as the very structure that
generates a positive safety culture.

Fatigue Science

Although recent academic studies have focused on quantifying and evaluating sleep in the
workplace, scientific modeling and prescriptive solutions have done little to help change the
culture of embedded norms interfering with sleep that pervade aviation and may diminish pilot
health. Controlling fatigue and alertness has long been an issue in aviation, in part due to the
24-hour nature of aviation operations around the globe. This is even more apparent in the
aviation cargo industry as most operations are performed on the back side of the clock, that is,
cargo and packages are flown to destinations overnight. To combat fatigue, airlines have
adopted Fatigue Risk Management Programs (FRMP) to promote awareness and
fatigue-mitigation strategies.

Fatigue risk management is an application of the Safety Management System (SMS) model,
through which hazards are identified and risk is managed with a comprehensive approach that
extends beyond regulatory compliance (FAA, 2011a). The following principles can be found in
the fatigue risk management literature (Hobbs, Avers & Hiles, 2011):

       • An FRMS requires a systemic approach, involving company policies, incident reporting
       and analysis systems, proactive risk assessment, and the other elements of a general
       safety management system (Australian National Transport Commission, 2004; FAA,
       2010; Transport Canada, 2007a, 2007d).
       • Effective fatigue risk management requires a partnership between the employer and
       the employee, as each can contribute uniquely to solutions (Dawson, 2000; Fletcher,
       2007; Transport Canada, 2007b, 2007c).
       • It is unrealistic to aim for “zero fatigue” in all cases. An appropriate objective for
       fatigue risk management is to ensure that risks are as low as reasonably practical
       (Stewart & Holmes, 2008).

Most of the fatigue risk management approaches in industry have been designed for
continuous-control tasks such as driving a vehicle or operating an aircraft. In such tasks, one of
the major fatigue-related threats is an unwanted sleep episode, in the form of either an
extended period of sleep or a microsleep, however there are other hazards created by fatigue
such as an increased risk of operator errors due to impaired mental functioning. Microsleeps
are brief periods of sleep that may occur unexpectedly when a person has not received


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adequate rest. This abrupt nodding off is the body’s way of inducing much needed rest and is
especially dangerous because it may occur without warning.

Fatigue can impair judgment and the ability to think clearly. This means that people are more
likely to commit errors and engage in risky behavior when they are fatigued. Fatigue also
compromises the ability to react quickly to situations. In the event that a situation arises,
someone who is fatigued is less likely to be able to respond immediately and effectively.
Perhaps the best way to describe fatigued performance is “unstable.” When fatigued,
individuals tend to perform reasonably well in many respects, but will often exhibit lapses in
performance that include performing the wrong action or failing to perform the correct action.
When occurring within otherwise good performance, these lapses can often go unnoticed not
only by the person who is fatigued, but also by those with whom they work. Clearly this could
pose a serious problem when operating machinery or performing some other safety-critical
task.

From Hobbs, et al (2011):
      Fatigue risk management interventions can be characterized not only in terms of the
      activities that comprise the approach (such as hours of service limits and incident
      reporting systems) but also the intended objectives of these activities. An approach
      common to many risk management systems is a distinction between controls aimed at
      hazard prevention and controls directed at risk mitigation (International Organization
      for Standardization, 2009; Reason & Hobbs, 2003). Consistent with this distinction, three
      potential objectives of fatigue risk management can be identified:
      1. Reduce fatigue. The first and most obvious objective of fatigue countermeasures is to
      reduce the level of fatigue experienced by personnel at work. This is the approach most
      commonly referred to when considering fatigue risk management. Hours of Service
      (HOS) limits and the re-design of shift schedules are examples of interventions intended
      to meet this objective.
      2. Reduce or capture fatigue-related errors. The second class of interventions are
      designed to break the link between fatigue and performance decrements. Work breaks
      and additional checklists designed to capture errors are examples of such interventions.
      3. Minimize the harm caused by errors. A final approach is to minimize, where possible,
      the operational consequences of fatigue-related errors.

The policy is not intended to reduce fatigue or reduce the probability of error. Rather, it
minimizes the operational impact of an error, should one occur. Fatigue producing conditions
originate not only in the workplace but also in the employee’s personal life (see Figure 1).
Therefore there is a shared responsibility between the employee and the employer, which must


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be communicated and upheld through effective training and communication avenues. To
accomplish these objectives, a voluntary fatigue reporting system and the ability of pilots to call
off of a flight fatigued, rather than sick, are also necessary. A positive safety culture with
reciprocal trust is instrumental to allow these programs to grow and thrive.

Workplace factors include working hours, staffing levels, and the availability of break periods.
Personal factors leading to fatigue can include social and family commitments, commute time,
second jobs, and medical conditions that may reduce the quality or quantity of sleep. The
employee has a responsibility to ensure, as much as possible, that he or she is rested and “fit
for duty” before reporting for work (Hobbs, 2004).




Figure 1. Workplace and personal factors contributing to employee fatigue. Adapted from the
Australian National Transport Commission (2004) as used in Hobbs, (2011).

Effects of Fatigue
        Fatigue can lead to poor decision making, reduced skills performance, poor hand-eye
coordination, and increased reaction time, lapses in judgment, and reduced motivation all of
which can increase risk and the potential for an incident, accident, and/or injury. Beyond that,
sleep habits in modern society are now being recognized as harmful to individual health, such
as increased risk for heart attack and increase in vehicle accidents. Fatigue has many
definitions. For the purposes here, fatigue is described as a reduced mental and physical state
resulting from insufficient or poor quality restorative sleep. Not only does compromised sleep


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increase propensity for error, but it also contributes to deleterious physiological changes in the
body.

        Humans have evolved on a planet with systematic light and dark cycles occurring on a
24-hour, or circadian, basis. The human body biologically reacts to these circadian cycles with
changes in behavior and physical and cognitive abilities. Circadian rhythm dips and rises at
certain points throughout the day to regulate wakefulness and sleepiness. Humans synchronize
their internal circadian clock each day with cues from the light and dark cycles. The
physiological responses in the body-- such as core temperature, hormone levels (e.g., melatonin
and cortisol), eye movement, and alertness, to name but a few, have adapted in response to
these cycles over time.

        Circadian dips and rises, known as the circasemidian rhythm, have a two-peak daily
pattern caused by the circadian rhythm as it processes through two cycles per day.
Circasemidian rhythm has been measured in many studies of performance and physiological
activity. Although individuals vary on whether they are a morning-personality type (early birds,
larks) or an evening-personality type (night owls, ravers), the circasemidian rhythm generally
rises and creates a drive for alertness on the home time zone between 0900-1100 hours
(morning wakefulness) and 2100-2300 hours (the second wind); it dips between 0200-0600
hours (the window of circadian low) and 1300-1500 hours (the post-lunch dip) each day,
creating a strong drive for sleep. These dips are expressed more intensely if a person is sleep
deprived.


Figure 2. The Circasemidian Rhythm

                         ALERT (Rises)            SLEEP DRIVE (Dips)
                         9:00-11:00 AM             2:00-6:00 AM
                         9:00-11:00 PM             3:00-5:00 PM




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http://code7700.com/fatigue.html


Sleepiness itself is not a disorder. It is a symptom that can have many different causes, not only
sleep deprivation. What pilots want to avoid is sleepiness in a situation when an individual
would be expected to be awake and alert.

Fatigue is implicated in 20-30% of all transportation accidents with injury (National
Transportation Safety Board). Work factors may contribute to fatigue:

           –   Shift work is the most common predictor (Akerstedt, 1998)

           –   Hectic work schedules are associated with disturbed sleep and fatigue

           –   Overtime work is associated with fatigue (Akerstedt et al., 2002)

Fatigue may impact flexible/creative decision-making even more than it impacts cognition.
Sleep deprivation impairs alertness, cognitive performance, and mood. The ability to do useful
mental work declines by 25% for every successive 24 hours awake (Thorne, 1983).

Fatigue is insidious in nature, we cannot predict with complete accuracy how it effects
individuals. Today’s culture and global lifestyle may have more impact on fatigue than
previously thought. The pace of life and speed of business in the current economy have
resulted in a global society wherein 24/7 operations have become the norm. The aviation
community especially embodies this 24/7 norm as aviation work can be performed at any time
of the day, for extended periods, with irregular start and stop times. This work pace shows no
indication of decreased demand in the future though the fatigued human state has become




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entrenched in modern culture. The effects of this 24/7 practice lead to irregular and shortened
work recovery times, and can disturb the overall workforce health and job performance.

A few myths surrounding fatigue:

A person will know when they are feeling fatigued. People are generally very poor judges of
their own fatigue, especially when they are fatigued. When people self-report fatigue they are
referring to subjective fatigue, or how they feel, not the physiological fatigue. Physiological
fatigue generally precedes subjective fatigue and is the component that primarily affects
performance. This means that people are often more fatigued than they realize.

With enough will-power a person can push through fatigue. Fatigue involves a physiological
component that is dependent on sleep, or the lack of sleep, and the body’s natural circadian
rhythm. No amount of will-power will help to overcome this aspect of fatigue; will-power
merely helps a person ignore the symptoms. Fatigue causes reduced alertness and performance
that are unavoidable – whether a person recognizes them or not.

Caffeine will keep a person going. Using caffeine to beat fatigue is similar to using will-power
to beat fatigue. A person may feel a little better and may be able to ignore the symptoms for a
while longer, but in the end they’re still fatigued and their performance still suffers. Caffeine is
only a short-term solution and becomes less effective when overused.

People need less sleep as they age. While it is true that older adults often spend less time in
the deep stages of sleep and find sleep less restful, it’s because they tend to have difficulty
sleeping, often waking in the middle of the night or in the early morning. There is no evidence
to suggest that adults need less sleep as they age.

Fatigue is not easy to define, nor is it easy to measure. It’s important to know fatigue does
include that feeling of sleepiness and the urge to go to sleep, but that’s not all there is to it.
Fatigue has psychological, physiological, and emotional implications that can impact the safe
performance of routine and non-routine work activities. Fatigue is a complex state that includes
a lack of alertness and a reduced capacity for mental and physical performance. This is in
addition to the drowsy, weary, or sleepy feeling a person may experience when fatigued.

In human factors, we frequently think of fatigue in terms of its symptoms, such as
forgetfulness; poor decision-making; slowed reaction time; reduced vigilance; poor
communication; impaired mood; nodding off; or becoming fixated, apathetic, or lethargic.
Fatigue is usually the result of an extended period of wakefulness, too little or poor quality
sleep, or the time of day. While people often report being fatigued, it’s important to recognize
that they are often not fully aware of their own level of fatigue or the extent to which they are
impaired.



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Figure 3. A non-exhaustive list of fatigue symptoms


Physical Symptoms           Mental Symptoms               Emotional Symptoms


Yawning repeatedly          Difficulty concentrating on   More quiet or withdrawn
                            tasks                         than normal
Heavy eyelids or
microsleeps                 Lapses in attention           Lack of motivation to do
                                                          the task well
Eye-rubbing                 Failure to communicate
                            important information         Irritable or grumpy with
Nodding off or head                                       colleagues, family, or
drooping                    Failure to anticipate         friends
                            events or actions
Headaches, nausea, or                                     Low morale
upset stomach               Making mistakes even on
                            well-practiced tasks          Heightened emotional
Slowed reaction time                                      sensitivity
                            Forgetfulness
Lack of energy,
weakness, or light          Difficulty thinking clearly
headedness
                            Poor decision making


Pilots can suffer from acute (transient), cumulative, and circadian fatigue. In an acute fatigue
state, a short term state, which normally occurs after a wakeful period of longer than 16 hours,
such as staying up all night or a very strenuous day, a person experiences diminished mental
capability caused by prolonged, continuous wakefulness between two major sleep periods. This
is seen as a transient performance decrement and is usually eliminated after one good-quality,
nocturnal sleep period. In a cumulative fatigue state, a person experiences diminished mental
capability caused by disturbed or shortened major sleep periods between two or more
successive major waking, duty, or work periods. This is long term and can be days, weeks, even
months. There are numerous causes such as depression, poor diet, poor sleeping habits, being
physically unfit, prolonged-increased workload, or high stress workload. One major sleep period
will not eliminate cumulative fatigue. In a circadian fatigued state, alertness and performance
are reduced during night hours, particularly during the window of circadian low.




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The Sleep Process
The sleep process comprises a series of 90- to 120-minute cycles that repeat throughout the
sleep period. Each cycle consists of two phases--Rapid Eye Movement (REM) and Non-Rapid Eye
Movement (NREM)--conducted in four stages. During REM sleep, which constitutes ~25 percent
of a normal sleep cycle, the body experiences almost complete immobility as muscle control is
relaxed in a response known as atonia. REM sleep is a time when information is stored into
memory and people may experience intensive, vivid dreams. People in REM sleep are usually
easy to awaken. In NREM sleep, which constitutes ~75 percent of a normal sleep cycle, the
brain slows, body temperature drops, blood supply to the muscles is increased, tissue growth
and repair happens, and hormones are released. People in NREM sleep are disengaged from
the environment and are often difficult to awaken. If awakened in NREM, people complain of
grogginess.

During wakefulness, brain activity is comprised of low-amplitude, high-frequency brain waves.
A person entering Stage 1 sleep enters the phase between consciousness and sleep, often
referred to as twilight sleep. Brain activity is comprised of low-amplitude, mixed-frequency
waves. Stage 2 sleep is marked by higher-amplitude waves, K-complex waves (a high-amplitude
negative wave followed by spikes), and sleep spindles (short bursts of high-frequency
oscillations). K-complex waves and sleep spindles are unique to the first sleep stages and work
to suppress stimulus response and aid in memory consolidation. Muscle twitches, followed by a
sleep spindle, often occur in these lighter stages of sleep. It is largely hypothesized that this
relationship between muscle twitches and sleep spindles represents the nervous system
reinforcing and organizing neural pathways, the brain-spinal cord-muscle connection.

A person entering Stage 3 sleep moves into deeper sleep with slower brain waves. Stage 4,
thought to be the most restorative stage of sleep, is characterized by high-amplitude,
low-frequency brain waves, decreased body temperature and blood pressure, and sympathetic
nervous system activity, along with decreased cerebral glucose utilization. It is in these deeper
stages of slow wave sleep (SWS) where the body makes repairs. SWS contributes to the
inhibition of the stress hormone cortisol and assists in the release of growth hormones,
allowing cell growth and regeneration. Once past Stage 4 sleep, the body proceeds back
through the sleep stages into lighter sleep and REM, and then the entire cycle begins again. As
the sleep cycles continue through the sleep period, less time is spent in deeper-stage sleep and
more time is spent in lighter-stage sleep. Stage 2 sleep is typically where most time is spent in a
sleep period overall.

The biological circadian processes of the body signal it to sleep. The body is habituated to a
home time zone and experiences rises and dips in the biological process to signal alertness and


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sleepiness throughout the day. Normally, a person needs about six to eight hours of sleep each
day. This is slightly variable due to the length of the sleep cycle in individuals. Those who
process through a sleep cycle faster require fewer hours of sleep to feel restored. Ordinarily,
melatonin, a hormone that reduces alertness, is released into the body a couple of hours prior
to the routine bedtime. Melatonin levels increase toward nighttime, as humans are by
biological evolution a daytime species.

Cortisol levels are naturally highest in the morning hours, around 0800, waking us and providing
energy for daily activities. Cortisol levels gradually decrease during the day and are usually
lowest between 2400 and 0400 hours, allowing for sleep. For those experiencing acute or
chronic stressors, cortisol levels may be raised in the evening, making restful sleep difficult and
possibly fragmented. When higher levels of cortisol are sustained, the body accommodates
them and needs to continually produce more and more cortisol, eventually depleting cortisol
stores along with the body’s ability to regulate the timing of its release. If a person wakes at
0200 hours and can’t get back to sleep, it could be that cortisol production began early to try to
fulfill the body’s already depleted 24-hour need.

The problem can become circular: If a person experiences abnormally high levels of cortisol in
the evening, the ability to fall asleep will be disrupted. If a person experiences abnormally low
cortisol levels throughout the day, their body may work overtime to raise cortisol levels. Loss of
sleep for even one night results in the body’s normal stress response accelerating cortisol
release, throwing cortisol levels off balance. This can then affect the body’s metabolic
processes and human cognition.

Sleep/Wake Homeostasis
The sleep cycle is regulated not only by our biological circadian clock but also by a sleep/wake
homeostasis. Sleep/wake homeostasis is a drive that creates a balance between wakefulness
and sleep. When a person has been awake for a number of hours (known as history of
wakefulness), this homeostasis indicates that a need for sleep is building; the longer one
remains awake, the more intense the need for sleep. This drive is present to help the body
maintain enough restorative sleep to compensate for the hours spent awake.


As an example, Figure 4 depicts the 24-hour cycle of a person who wakes at roughly 0600
hours. As the person proceeds throughout the day, the need for sleep gradually increases until
approximately 2200 hours, when the person experiences the greatest sleep need and
subsequently retires to bed. At this point, the need for sleep decreases markedly with each
hour until it has been mollified after approximately eight hours of restorative sleep.
Accordingly, the body’s natural circadian rhythm experiences several highs and lows


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throughout the 24-hour period regardless of sleep history. These highs and lows are set to a
home time zone pacemaker.


Figure 4. Sleep Need Compared with Sleep Urge




Caption: The black line depicts sleep need, which rises though the waking hours and
decreases during sleep. The red line depicts a normal circadian rhythm wherein sleep urge is
greatest at night; there is also a slighter increase at mid-day (post-lunch dip).


Circadian Disruption and Health

While the body clock is inherently capable of monitoring the passage of time, it differs from
most clocks in that it is flexible and must be set, or synchronized, before it can accurately
predict the timing of events. Research has shown that people with disturbed body clocks and
disrupted sleep cycles can suffer a myriad of health problems. Working the extended and
non-traditional hours associated with aviation operations may have negative implications for
pilot health. Those working non-traditional hours or extended hours tend to have a higher
number of health complaints, greater use of sick leave, and more visits to the doctor. They may
also experience greater stress, higher alcohol and drug use, greater weariness, and a lower
sense of overall well-being.

Unless timing information is received from the environment, the human circadian clock tends
to run slow. The specific environmental time cues which synchronize it to a 24-hour day are




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known by the German term “zeitgebers,” meaning “time-givers.” Currently, two types of
zeitgebers have been identified: exposure to bright light and social factors.
        Bright light (more than about 2500 lux—normal indoor light is generally less than 500
lux) affects the circadian clock by means of a direct neural pathway from the eye. The principle
behind synchronization of the circadian clock by light/dark cycles is reasonably well understood
and can be summarized as follows.
        1. Light exposure in the subjective morning advances subsequent circadian cycles.
        2. Light exposure in the middle of the subjective day has minimal effect.
        3. Light exposure in the subjective evening delays subsequent circadian cycles.

To synchronize a circadian clock with an innate period of 25 hours to a 24-hour day requires
that the clock be advanced by 1 hour per day. An appropriate exposure to sunlight every
morning would achieve the necessary resetting. Conversely, to synchronize a clock with an
innate period of 23 hours would require a delay of 1 hour per day, in other words, an
appropriate exposure to sunlight every evening. These examples are intended to illustrate the
mechanism of synchronization (also known as “entrainment”). Clearly, however, they are highly
simplistic. In everyday life, synchronization of an individual’s circadian clock to a 24-hour day
depends on a complex combination of different zeitgeber inputs. There is some evidence that
the human circadian clock may be synchronized by certain social factors, including the
work/rest/meal schedule. However, the specific aspects of the social environment that
constitute time cues have not yet been identified, and the mechanisms by which they affect the
clock remain unknown.

With Abrupt change in environmental time the circadian clock is out of step with the
environment (circadian desynchrony). Gradual and uneven adaptation of different circadian
rhythms, result in different physiological functions out of step with one another. Crossing time
zones produces an additional zeitgeber disruption regularly encountered by flight crews. The
circadian clock resynchronizes only gradually to a new environmental time. Circadian rhythms
in different functions adjust more or less quickly, depending on the tightness of their coupling
to the clock and on their interactions with other physiological functions, each adapting at its
own rate.
After a transmeridian flight, not only is the circadian clock out of step with the local zeitgebers,
but also different physiological functions are out of step with one another. During commercial
long-haul operations, crewmembers rarely stay long enough in one time zone for their circadian
clocks to become synchronized to local time. Rapid sequences of transmeridian flights present
continuously changing zeitgeber signals to the clock, which is buffeted back and forth and
unable to stabilize.




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We cannot, as yet, reset our circadian rhythms at will, as we do our wrist watches. However,
this is the aim of most circadian countermeasures. It may take days to weeks for all rhythms to
synchronize to a new time zone after one transmeridian flight. During commercial long-haul
operations, flight crews usually have 1–2 days at each layover destination before they operate
another transmeridian flight. Thus, they seldom become fully synchronized to local time during
layovers.

The problems engendered by the slow adaptation of circadian rhythms to new time zones and
duty/rest schedule changes are examined. The basic problem with shift work is that it requires
people to somehow override the circadian clock, which pre-programs us for daytime activity
and nighttime sleep. The work/rest schedule itself may reset the clock of the shift worker to
some extent. However, the competing zeitgeber inputs from the day/night cycle and our
predominantly day-oriented society continually push it back toward its usual diurnal
orientation. Thus, at best, the circadian rhythms of shift workers usually are only partially
adapted to their current work/rest schedule. In addition, most shift workers revert to being
day-active on their days off. This continuously changing orientation can result in chronic
desynchroni-zation of the circadian clock relative to the environment, and persistent internal
desynchronization among different physiological systems.

The conflicting zeitgeber environment typical of shift work is further confounded in aviation
operations by the day-to-day instability of the duty/rest cycles and by the element of
unpredictability (associated with weather, mechanical problems, system delays, and other
operational factors).

Circadian adaptation in flight crews after transmeridian flights has been examined in only a few
studies. Klein and colleagues at the DLR (the German Aerospace Establishment) found that
flying skills of 12 German fighter pilots tested in an F-104 simulator were less impaired after a
westward flight (as passengers) crossing eight time zones than after the return eastward flight.
A joint study conducted by NASA and the Royal Norwegian Air Force Institution of Aviation
Medicine examined adaptation of 9 crewmembers operating Orion P-3 aircraft during eastward
and westward flights across nine time zones. Adaptation of sleep and the temperature rhythm
to local time was faster after westward flights.

A NASA study of the effects of aging found that as flight crews get older, they become more
morning-type and the amplitude of their circadian temperature rhythm declines. Daily
percentage sleep loss during trips was 3.5 times greater among long-haul crews aged 50–60
than among long-haul crews aged 20–30.




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Flight operations can affect sleep and circadian factors in two main ways: first, by occurring at
unusual or changing times in the day/night cycle, and second, by requiring time-zone changes.
Either of these, and especially the two combined, can have two basic effects: conflict between
external time (environmental or local) and body time; and continuous circadian disruption.

The body’s time can conflict with environmental time (in the case of unusual/ changing
schedules) or local time (in the case of changing time zones). The first case occurs because night
flying is in direct opposition to the circadian clock’s natural programming for sleep during
nighttime, just as sleep during day hours is in opposition to the circadian clock’s programming
for wakefulness during daytime. The second case occurs due to the wide range of required time
changes resulting from successive west-east/east-west flights. When the body is required to
adjust continuously, continuous circadian disruption can occur. Continual alternation between
day and night schedules, for sleep or duty, can cause the circadian clock to be constantly
resetting itself. Successive time-zone changes can also lead to symptoms of incomplete
adaptation. There is currently no information on the specific effects of continuously resetting
the circadian clock in flight operations.

An obvious contributor to sleep loss is a prolonged period of continuous wakefulness. An
extended duty period can create fatigue by extending wakefulness and decreasing sleep, and
can involve circadian disruption. Other fatigue factors that can emerge in continuous
operations are boredom and complacency. When a human is acting only as
a passive monitor (e.g., of relatively rare events in highly automated aircraft), there is an
opportunity for these factors to increase the likelihood for physiological sleepiness to emerge
(i.e., the person may fall sleep). In many flight operations, the time available for sleep is
restricted by a variety of constraints. If an individual’s physiological timing for sleep does not
coincide with the scheduled sleep opportunity, then a cumulative sleep debt can result.

More specifically, evidence suggests that fatigue and irregular sleeping patterns can disrupt the
body’s natural processes. For instance, the circadian rhythm plays a role in digestion, which
results in people being four to five times more likely to develop a gastrointestinal disorder such
as indigestion, heartburn, flatulence, upset stomach, or constipation. The digestive system
slows at night making it more difficult to digest food. People who have extended work hours
tend to eat at irregular times, which can lead to an increase in digestive issues.

Working extended hours associated with aviation operations is also associated with greater
incidence of high blood pressure and contributes to heart disease. It is believed that it may be
partially due to increased stress that often accompanies these work schedules.




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There is also evidence to suggest that workers experiencing fatigue may be more susceptible to
disorders such as depression and anxiety. It is believed that this may be related to difficulty
balancing work and family/social life. Unfortunately, this can become a very negative cycle as
fatigue is often considered a result of depression and anxiety.


       Numerous factors contribute to disrupted and reduced sleep. Among them are culture,
technology, light, diet and lifestyle, shift swapping, travel over multiple time zones, extreme
changes in weather or temperature, stress, and sleep apnea. Following are some of the
attitudes indicative of the more pervasive “alertness killers” in aviation.

Working unscheduled trips may allow for workplace flexibility, but many standard operating
guidelines are vague about scheduling a maximum of back-to-back duty hours. Pilots are
expected to use their better judgment. The problem is that humans rarely recognize the signs
of sleep deprivation; the more sleep deprived a person is, the less capable he is of seeing it in
himself. Developing and enforcing fatigue risk management programs, especially duty/rest
guidelines, is a step toward changing the culture to recognize that reporting for work fatigued
represents an occupational safety hazard.

Just as important as when and how long to sleep, is where to sleep. Attempting to sleep
anywhere other distractions and interruptions exist does not afford restorative rest. Noise,
lighting, and even smells can stimulate the brain, which craves sensory input and continues to
take in sensory cues from the environment throughout sleep. During sleep, though, the brain
does not consciously manage attention given to these sensory cues as it does during periods of
wakefulness. These unfiltered sensory cues may provide enough stimulation to disturb sleep by
arousing the brain and increasing heart rate and blood pressure, causing a person to move,
shift between sleep stages, or even fully awaken. Some people are more sensitive to noise than
others. Although the brain can adapt to some low levels of ambient background noise, random
or peak noises will disrupt sleep. In a sleep study that considered the combined effects of noise
on recuperative sleep, scientists discovered that people attuned to noise in the environment
(demonstrated by fewer brain wave changes) when exposed to noise on 11 consecutive nights.
Interestingly, their cardiac arousals (demonstrated by heart rate) did not acclimatize.

A controlled environment promotes healthy sleep. This means retreating to a protected area
where the lights can be turned off or blacked out entirely, noise is reduced, and cooler
temperatures are maintained. This downtime area must be safeguarded by a no-disturb policy
as much as possible.

Sleep Is the Only Cure


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The most important take-away point is that the human body prefers to stick to a regular sleep
schedule that affords solid, consistent sleep on and off duty days. Losing sleep is much more
than living in a fatigued state; it can also damage long-term health and increase vulnerability for
a cardiovascular event. Understanding how habits help or harm sleep patterns and allowing for
lifestyle adjustments will allow pilots to maintain not only fitness for duty, but also fitness for
life.

In conclusion, The FAA has issued science-based flight-and-duty rules and minimum rest
requirements for airline pilots rooted on a demonstrable science-based fix and not
representative of cost modeling. The FAA worked over the course of many years to develop
FRMS protocols developed by industry-academic working groups and based on empirical
scientific evidence.

In their seminal paper, Dawson and colleagues (2011), an international fatigue science
modeling team and whose work has been used as a basis for regulatory guidelines, review the
current fatigue models described in the scientific and technical literature and classify them
according to whether they predict fatigue directly using prior sleep and wake (one-step models)
or indirectly using work schedules to infer an average sleep-wake pattern that is used to predict
fatigue (two-step models). Though scientists have evolved the models over time, they conclude
that, in general, one-step models provide well-validated estimates of fatigue in continuous
sleep deprivation protocols but are less reliable when used to predict effects from chronic sleep
restriction. Critically, they point out that none of the two-step models have sufficient published
data to validate their ability to infer average sleep wake behavior in field settings. As a
consequence, the current generation of models may only provide an estimate of average
work-related fatigue or ‘sleep opportunity’ across a group and are therefore unsuited to
prediction at the individual or event level. So while the models may provide an estimate, they
can in no way model or predict actual individual human behavior in the work environment.

Dawson and colleagues also review the current use of fatigue models in field settings by
organizations and regulators. In general, they suggest that the current generation of models
oversimplify the prediction of fatigue and fail to acknowledge adequately the significant inter-
and intra- individual variability. When used by non-experts, this oversimplification can lead to a
significant risk of inappropriate use due to over-interpretation or over-reliance on them. As
such the current generation of models is appropriate to use only as an element of a fatigue risk
management system (FRMS) but lacks sufficient validity to be used in isolation. So even the
well-accepted models fatigue scientists employ, are of little use as predictive of individual
human behavior in any given work situation. Fatigue does not affect everyone uniformly or in
the same manner. Determining whether a fatigue call is or is not legitimate requires an analysis



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of factors currently beyond the scope of the most highly recognized fatigue scientists in the
world. Simply analyzing the number of instances in which fatigue calls were made does not
reflect the value of the unquantifiable human factors involved in each instance. There are the
complex, non-linear relationships between fatigue and work place risk. To rely on purely
statistical regression analysis, one that does not consider the myriad of human factors issues
involved in the work setting, to support a claim that a work group or employee deliberately
calls out sick, even in the face of evidence accepted by a FRMC the supports the flight turn
downs, removes and second guesses the authority given to pilots to judge their fitness for duty,
and sets a dangerous precedent in an organization’s safety culture.




Dated: 23 October 2017               Signed:




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during 72 hours of high task load. In Proceedings of the 24th DRG seminar on the human as a
limiting element in military systems (Vol. 1, pp. 17-40).
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professionals, 1st International Conference on Human Factors in Transportation, San Francisco,
CA, July 2012.
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aviation operations. The 2009 International Conference on Fatigue Management in
Transportation Operations: A Framework for Progress Boston, MA. March 24-26, 2009.
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System (SCISMS) in Part 121 Aviation Flight Operations. Department of Transportation, Federal
Aviation Administration Office of Aviation Research and Development. Washington, DC.
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in a Major European Airline’s Flight Operations Department. 8th International Symposium of the
Australian Aviation Psychology Association. Sydney, Australia, 8 - 11 April.
von Thaden, T., and Gibbons, A. (2007). 14 CFR Part 121 air carriers’ flight operations causal
model: human error BBN definitions and integration. Technical Report HFD-07-3/FAA-07-2.
Prepared for the Federal Aviation Administration, contract DTFA 01-G-015.
von Thaden, T. , Wiegmann, D. and Shappell, S. (2003). Measuring organizational factors in
airline safety. Technical Report AHFD-03-11/FAA-03-3. Prepared for the Federal Aviation
Administration, contract DTFA 01-G-015.
Wiegmann, D., Zhang, H., von Thaden, T., Sharma, G. and Mitchell, A. (2002). A synthesis of
safety culture and safety climate research. Technical Report ARL-02-3/ FAA-02-2. Prepared for
the Federal Aviation Administration, contract DTFA 01-G-015.




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                                                                                      Terry L. von Thaden, PhD
                                          Abbreviated Curricula Vitae


                                            Terry L. von Thaden, PhD

                                                 217/344-9197

                                         terry.von.thaden@illumia.org



PERSONAL HISTORY AND PROFESSIONAL EXPERIENCE
Educational Background
2004              Ph.D. Information Science, University of Illinois at Urbana-Champaign.

1996              M.S. Safety and Health/Human Factors, University of Southern California.

1994              B.S. Cum Laude, Aviation Management Flight Operations/Air Traffic Control, Daniel
                  Webster College.

1988              A.S. Cum Laude, Design, Newbury College.


2017              Bystander Intervention Certification, Green Dot Institue
2006              Safety Management Systems Certification, International Aviation Transport Association.
1996              Aviation Safety/Security Program Certification, University of Southern California.

Positions Held:
2012 -            Senior Research Scientist, Illinois Fire Service Institute, University of Illinois at
                  Urbana-Champaign. 8/16/12-present. Doctoral Students advised to completion: 2.
                  Research and curriculum development in areas such as injury prevention; noise; fatigue
                  and alertness; decision making; CRM; leadership, coaching and mentoring; behavioral
                  health and resilience; PTSD; suicide prevention; sexual harassment and assault;
                  bystander training; organizational change management; ethics.
2012-2016         United States Air Force Scientific Advisory Board, Federal Advisory Committee,
                  appointed by Secretary of Defense. Independent counsel and advice on matters of
                  science and technology relating to the USAF mission and national security, reporting
                  directly to the Secretary of the Air Force and the Chief of Staff of the Air Force.
                  Identified applications of technology and personnel to improve or enable Air Force, and
                  advising on the USAF science and technology portfolio to maximize its value in
                  supporting the USAF mission. Special Assignments:
                  Vice Chair/Report Author, Combating Sexual Assault, chartered special DoD study,
                  appointed by Secretary of USAF, Pentagon briefings (2013-2014).
                  Chair/Report Author, Science and Technology Research and Capability Quality Review
                  711th Human Performance Wing, Air Force Research Laboratory, Human Effectiveness
                  Directorate, Wright Patterson AFB/ Ft. Sam Houston, Tri-Service Research Laboratory
                  (2015-2016).


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2010 -         Founder/CEO, Illumia Corporation, Start-up technology and human factors consulting
               company featuring proprietary safety culture assessment and statistical risk modeling
               tools (SCISMS – the Safety Culture Indicator Scale Measurement System). Also develop
               materials for and teach professional workshops on human factors subjects. Advisory
               capabilities include: safety culture assessment, human factors science, fatigue risk
               management, SMS, organizational change management, accident investigation, injury
               prevention, process control, distributed systems, ASAP reporting, critical incident stress,
               PTSD, safety stand down, CRM, standardization. 250+ organizations served. Clients
               include: major airlines, corporate flight departments, air charter service providers, first
               response teams, Nuclear Regulatory Commission, government contractors (e.g., ship
               building, munitions, etc.), maritime operations, and medical facilities. February 2010-
               present.
2009 -         Assistant Professor, Graduate School of Library and Information Science, University of
               Illinois at Urbana-Champaign. 8/16/09-8/15/012. 1.5 year industry leave of absence
               (2009-2011). Research and teaching in distributed information practice in safety and
               time critical environments. Courses: Safety Informatics, Intelligent Interface Design,
               Social Informatics.
                   •   Developed SCISMS – the Safety Culture Indicator Scale Measurement System
                       assessment tool used in industries globally.
                   •   Developed DIBS - the Distributed Information Behavior System to categorize
                       information and communication practice for Crew Resource Management.
2004 - 2009    Assistant Professor, Aviation Human Factors Division, Institute of Aviation, University
               of Illinois at Urbana-Champaign. 8/16/04-8/15/09. Affiliate Faculty 8/16/09-8/15/13
               (program termination).

               Teaching and research in aviation and medical environments. Specialty areas include:
               accident investigation and analysis; organizational safety culture; change management;
               safety management systems; fatigue risk management; crew resource management;
               critical incident response, stress, and debriefing; error analysis; information exchange
               and standard operating procedures; individual and group decision processes; distributed
               knowledge/distributed collective practice; social informatics; design and use of everyday
               things; aviation history, next generation aviation professional needs.
               Part 141 Aviation curriculum. Courses Developed/Taught: Aviation Accident
               Investigation and Analysis, Crew Resource Management, Aviation Psychology, Aviation
               Physiology, Safety Informatics, Team Decision Making, Ethical Foundations of Safety,
               Social Network Analysis.
               Director of the Sociotechnical Systems Safety Research Lab, investigating factors
               affecting risk, decision, performance, and safety in high reliability organizations.
               Developed measurement criteria and investigated interactions among diverse working
               groups to assess the impact of culture and regulatory oversight on attitudes and
               organizational behavior and safety, and change management. Worked with industry
               organizations and regulators to develop metrics and statistical models. Major
               International/Domestic/Foreign airline safety research (flight, maintenance, dispatch,


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               cabin, and ramp operations) consultant to, and developer of, research tools for major
               airlines, air tour operators, EMS operators, and maintenance facilities domestically and
               internationally regarding safety culture and human factors issues (e.g., fatigue risk
               management, automation, threat and error management, ASAP reporting, critical
               incident stress, decision making, emergency preparedness).
2007 -         Affiliated Faculty, Department of Industrial and Enterprise Systems Engineering, UIUC

               Affiliated Faculty, Department of Psychology, UIUC
2006 -         Affiliated Faculty, School of Information Sciences, UIUC
2004 - 2010    Independent Consultant. Human Factors analysis, expert witness preparation,
               incident/accident preparedness and response, post accident investigation and analysis,
               critical incident stress debriefing, safety culture analysis, and media interface. Develop
               materials for and teach professional workshops on human factors subjects.
Other Professional Employment
2000- 2005     Scientific Advisor. System Safety Resources Group, Nashua NH.
               Consultation on state of the art and advances in research, technology, human factors,
               human computer interaction, computer supported cooperative work, computer
               mediated communication for medical and aviation human factors research.
2000 – 2004  Research Assistant. Aviation Human Factors Division, University of Illinois at
Urbana-Champaign.

               Research areas: decision support systems, error reporting, event memory, accident
               analysis, and safety culture. Other work: supervision/guidance of student workers,
               Human Factors Analysis and Classification System (HFACS) database development,
               National Transportation Safety Board (NTSB) database development into statistical
               software (SPSS), teaching (aviation accident investigation, crew resource management).
1998 – 2000    Researcher/Administrator. Motorcycle Rider Safety Program, Illinois Department of
               Transportation, University of Illinois at Urbana-Champaign. Human Factors research and
               statistical analysis including accident analysis/reconstruction, decision-making, safety
               and design for error tolerance.
1996 – 1999    Researcher/Consultant. National Academy of Sciences, Transportation Research Board,
               Washington DC. Commissioned study on advancing safety under current technological
               restraints and airline/airport budgets, system redundancy, and information exchange.
               Focus: system safety in aircraft ground deicing procedures.
               Researcher. Aviation Consumer Action Project, Washington DC. Research on cabin
               safety issues. Background, usage, and regulation of first aid emergency kits aboard
               transport (Part 121) aircraft. Research on heart attack incidence and defibrillator usage
               for domestic and international carriers. Ghostwriter for successful initiative to legislate
               before congress an upgrade in first aid kits and portable defibrillator as standard
               equipment. Research on passenger intoxication and threats to crew and passengers (“air
               rage’).



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               Independent Researcher. Study of child restraint laws aboard Part 121 air carriers.
               Survivability of lap held children, under age 2, with passive and active restraint systems
               in turbulence and crash environs.
1994 – 1996    Administrator/Technician/Researcher. Head Protection Research Laboratory,
               University of Southern California. Failure analysis and technical problems in
               transportation safety and accident investigation. Facility also contracted quality control
               testing to private industry. Helmet testing to federal standards including helmet
               inspection; evidence inspection, storage, and retrieval; database management;
               reference manager; and legal recording. Review of case files, including conflict of
               interest, translation of medical records and x-rays, analysis, report review and
               preparation for litigation and journal publication. Report and evidence preparation
               and legal coordination for document discovery, and expert deposition. Regulated office
               policy, produced new office brochure for public inquiries, and developed training
               manual for new technicians. Supervised employees.
1986-1996      Designer/Special Effects Artist. Self-Employed, von Thaden Design, and Mikan
               Theatricals. Portsmouth, NH. Effects for film, theater, and television, including mass
               casualty disaster drills.


1984-1989,     Medical Assistant, Triage Assistant, Phlebotomist. Exeter Family Medical Associates,
Exeter, NH.

1994           Patient care: medical work-up, triage medical assessment, specimen collection and
               chain-of-custody recording. Scheduling, billing, confidential record keeping, and patient
               relations.


Committees, Panels, Boards (e.g., for Governmental Agencies, Educational Institutions):
2012 -         Flight Safety Foundation, Maintenance Advisory Committee, established to extend the
               Flight Safety Foundation's work beyond its historic focus on flight operations and crew
               training to the MRO sector. The MAC assists the Foundation in its efforts to deliver
               credible safety information to the aviation community. The committee's responsibilities
               include both general and specific assistance on present and future safety related
               activities, identification and solution of aviation maintenance and engineering safety
               issues, and advice on special study requirements and seminar programs.

2011 - 2014    Advisory Board, Aviation, Applied Human Factors and Ergonomics Conference


2008 - 2012    Civil Aerospace Medical Institute (CAMI) Expert Adviser, Multi-Disciplinary Approach to

               Fatigue Risk Management in Aircraft Maintenance – Near Term and Next Gen Time
               Frame. Maintenance Fatigue Work Group. Federal Aviation Administration appointed
               committee consisting of labor representatives, airline representatives, scientists,
               government researchers, and international specialists to focus on the development of a
               viable and practical methods for preventing/reducing the fatigue experienced by


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               maintenance personnel in the aircraft maintenance work environment, identifying
               near-term solutions/interventions and ultimately the best practices for the FAA to
               emulate to address fatigue in maintenance operations. Standards development.



2008 -         Government Accounting Office, Expert Adviser. Congressional inquiries at the request
               of the House Committee on Transportation and its Subcommittee on Aviation on Air
               Cargo Safety.
2008           Government Accounting Office, Aeronautics and Space Engineering Board (ASEB) of
               The National Academy of Sciences, Expert Advisor. Congressionally appointed
               committee, (February-September). Congressional inquiry at the request of the House
               Committee on Transportation and its Subcommittee on Aviation on improving runway
               and ramp safety.
               National Aeronautics and Space Administration (NASA) (January 2008). Reviewer,
               Experimental Program to Stimulate Competitive Research (EPSCoR), Research and
               Education Awards Program (REAP) proposal review, scientific and technical merit.
2007- 2011     International Civil Aviation Organization (ICAO), Next Generation of Aviation
               Professionals (NGAP) working group. Initiatives to foresee and develop programs for the
               international aviation community to address anticipated shortages of skilled aviation
               professionals in the near future.
2006 - 2013    Federal Aviation Administration Safety Management Systems Focus Group; FAA’s SMS
               pilot project. Advisory to standards development, concept measures.
2003-2006      Board of Advisors, Octave Chanute Aerospace Museum.
1997- 2005     Trustee. Daniel Webster College, Nashua, NH. Subcommittees: Development,
               Trusteeship, and Academic Affairs and Student Life. Fundraising and advancing college
               curriculum to include new degree programs in Information Technology and Social
               Sciences. Governance of college issues on education, research, faculty enrichment,
               budget, endowment and mission. Instituted faculty job satisfaction survey and
               administrative assessment guidelines. Search and election of new College President and
               Dean. Development and panel moderator for Aviation Heritage Festival. Search and
               hiring of College President and Academic Dean (2004-2005).


Editorships of Journals or Other Learned Publications:


2011           Content Consultant, ABDO Publishing, The Hudson Plane Landing
2007-2009      Editor, Bulletin of the Association of Aviation Psychologists
2007-          Consulting Editor, International Journal of Aviation Psychology
2006 -         Consulting Editor, The International Journal of Applied Aviation Studies
2003-          Reviewer, 150+ technical papers, journal articles, and conference papers.

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Selected Honors, Recognitions, and Outstanding Achievements:
2016             United States Air Force Chief of Staff’s Award for Exceptional Public Service. This award
                 is for significant contributions on the United States Air Force Scientific Advisory Board
                 and embodies dedication, patriotism, and personal sacrifice.

2015 - 2017      Board Member at Large, American Psychological Association

2005 -           Beta Phi Mu International Honor Society for Library and Information Science, Alpha
                 Chapter.
2005             Aerospace Human Factors Association's Stanley N. Roscoe Award for the best doctoral
                 dissertation written in research area related to Aerospace Human Factors. Aerospace
                 Medical Association.
2004 -           Phi Kappa Phi Honor Society.
2003             Amelia Earhart Fellow, Zonta International.
1996             Transportation Research Board Fellow.
1995 & 1996      National Institute for Occupational Safety and Health Fellow.
PUBLICATIONS AND CREATIVE WORKS
    •     Authored 200+ research papers, peer reviewed journal articles, chapters, technical reports,
          bulletins, and conference papers. Topics include: Aviation Safety, Safety Culture, Human Factors
          Analysis, Information Behavior, Distributed Communication, Crew Resource Management,
          Decision Making, and Healthcare Safety.
    •     90+ Invited keynote address, invited guest speaker, and invited panel engagements.
          Largest co-present audience: 5000.

    •     50+ conference presentations (not otherwise invited).
    •     10 organized workshops.
Summary of Instruction – Courses Developed and Taught (UIUC):
AVI 381, Cockpit/Crew Resource Management (advanced undergraduate/graduate combined course)

Examines societal/cultural, industry, governmental regulatory agency, organizational, group, and
individual influences on cockpit behavior and cockpit resource management. Two 90 minute
lecture/discussion and one two-hour laboratory/flight periods each week. Laboratory and flight sections
use multi-engine flight simulators and multi-engine aircraft. Students gain experience flying preplanned
scenarios in both aircraft and simulators. Materials from lecture/discussions emphasized in flights. Lab
sections are filmed and assessed as part of ongoing research in CRM.



AVI 455, Aviation Accident Investigation and Analysis (advanced undergraduate/graduate combined
course)



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Fundamental concepts of aviation safety augmentation with emphasis on accident prevention through
accident investigation, casualty reduction through crashworthy design, and safety enhancement
resulting from litigation; accident investigation techniques and crash survival structural design factors.
Introduction the Human Factors Analysis Classification System (HFACS), ICAO Annex 13, NTSB
investigation processes, and other protocols.

AVI 495/PSYCH 497, Aviation Psychology (advanced undergraduate/graduate combined course)

Integrates the disciplines of psychology and aviation, discussing the relevance of perception, cognition,
learning, stress, decision making, and group processes to a variety of aviation concerns related to topics
such as cockpit design, pilot error, pilot training, crew communications, and air traffic control.

Psych 496PS Aviation Physiology (advanced undergraduate/graduate combined course)
Course explores various aspects of human physiology pertinent to aviation and aerospace operations.
The focus of the course is the understanding of physiological factors and the mitigation of their adverse
consequences to improve safety, performance, and survivability in the aerospace environment.

AVI 497CRM - Crew Resource Management: Research in Team Decision Making (graduate course)
An interdisciplinary course for graduate students in Human Factors, Library and Information Science,
Industrial and Enterprise Systems Engineering, Psychology, Sociology, and Speech Communication.
Examines societal/cultural, industry, governmental regulatory agency, organizational, group, and
individual influences on cockpit behavior and cockpit resource management. Graduate students attend
lectures/discussion sessions and observe one two-hour flight laboratory (simulator training) each week.
Students will learn the principles of observational/ethnographic research in addition to team dynamics
and will observe students ' simulated flight laboratories from AVI 381 (Cockpit Resource Management)
as their research subjects. Laboratory flight sections use multi-engine flight simulators.

Psych 593TVT/GSLIS 590TVT, Safety Informatics – (graduate seminar)
An interdisciplinary course for graduate students in Human Factors, Library and Information Science,
Industrial and Enterprise Systems Engineering, Psychology, Sociology, and Speech Communication. This
course explores the nature of safety and information in normal and safety critical, high risk
environments. We explore the nature of distributed cooperative practice including the organization of
and access to information, systems management, language and communication, distributed cognition,
computer supported cooperative work, safety culture and activity in a variety of domains. Safety
Informatics involves the impact of technology on the nature and character of how organizations and
their human actors conduct work activities in high risk organizations. In some cases, the technology itself
and how it is employed proves the defining factor in the work activity, the growth of organizational
strategy, organizational tactics, and organizational doctrine. This impact on organizations is unlikely to
diminish in our global society; yet work remains limited by how technology is incorporated into and
supports the situated activity of the actors who perform the organization’s work and is magnified in
times of crisis. Incorporating technology into the work process is not a panacea for seamless operation
and does not ensure the proper management of information. Few studies have been conducted in the
discipline of Human Factors that focus on the articulation work of the network of organizational actors
and their associated work environment.



Service to Disciplinary and Professional Societies or Associations , Committees

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SERVICE (PUBLIC, PROFESSIONAL/DISCIPLINARY, AND UNIVERSITY)

2017           Producer, Louise Thaden documentary with Hemlock Films.
2015           Advisor, SME Beyond the Powder, documentary film on Women’s Air Racing.
2010-2016      SME, National Geographic Air Disaster series; Mentorn Media World’s Scariest/Greatest
               series; various news outlets.
2008-2010      Advisor, Documentary film, Breaking Through the Clouds Archetypal Images, LLC.
2008 -         Advisor, Commission on Accreditation of Medical Transport Systems to study culture
               and fatigue in HEMS operations.
2008-2009      Institute Reframing Committee, Institute of Aviation, University of Illinois at Urbana
               Champaign. Provost charged committee to develop a new focus for the flight program
               and curricula for a future manifestation of the Institute of Aviation.
2007 - 2013    Chair, Flight Safety Committee, Institute of Aviation, University of Illinois at
               Urbana-Champaign. Charged with investigating and making recommendations in cases
               regarding student or instructor violation of Institute policy, incidents, and accidents.
2007           Aviation Safety and Careers in Aviation, Girl Scouts of America, Ninety-Nines
               International Association of Women Pilots. Race Across America. Oklahoma City, OK,
               June 16-18.
2006           Academic Director Search Committee, Institute of Aviation, University of Illinois at
               Urbana-Champaign. Completed work as member of Institute of Aviation Academic
               Director Search Committee. Developed candidate interview questions, interviewed
               candidates and recommended position.
2005-2007      Coordinator, National Oceanic and Atmospheric Administration (NOAA) Research,
               Institute of Aviation, University of Illinois at Urbana-Champaign. Coordination of pilot
               interaction, scheduling, route selection, and air sample testing with Greenwood Aviation
               Services and Civil Engineering department.
2005-2006      Curriculum Revision Committee, Professional Aviation and Human Factors Degree,
               Human Factors Division, Institute of Aviation, University of Illinois at Urbana-Champaign.
               Strategic Planning Committee, Human Factors Division, Institute of Aviation, University
               of Illinois at Urbana-Champaign.
2004-2009      Human Factors consultant to the Risk Management and Patient Safety Institute, a
               division of MHA Insurance, Just Culture and Patient Safety project (2004-2009). As the
               only social/behavioral scientist on the team, I worked closely with risk managers,
               doctors, nurses, pharmacists and administrators to assure human behavioral and
               organizational issues are appropriately addressed in the research. This boundary
               crossing work has produced a validated refined survey tool, a just culture toolkit, and a
               software-based model of accountability, all available free of charge on the Web
               (https://www.mnhospitals.org/Portals/0/Documents/ptsafety/perinatal/maps-just-cult
               ure-provider-implementation-toolkit.pdf). This has advanced not only science, but also


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               the practice of understanding what contributes to organizational/cultural change
               factors. This work has applications beyond the medical arena.
2004-          Founding Director and President, Thaden Aviation Foundation.
2003 -         Board Member, Bobbi Trout Aviation Scholarship Trust.
2003-2006      Advisory Board, Octave Chanute Aerospace Museum, Rantoul, IL.
2003-2004      Advisor, Discovery Channel, 1929 First Transcontinental Women’s Air Derby
               Documentary.
2003           Representative, Association of Women in Aviation International, 100 Women Who
               Made A Difference over 100 Years of Aviation and Aerospace, Cincinnati, OH.
2002           Developer, Online Flight Safety Reporting System, University of Illinois at
               Urbana-Champaign. Collaborator developing the protocols for the Worldwide Pilot
               Safety Input System, at UIUC’s Institute of Aviation. Proactive tool to identify safety
               issues, encourage safe practice in aviation, and promote a high degree of awareness and
               responsibility among pilots.
2000-2005      Advisor to the System Safety Group, established to facilitate the design and
               implementation of system-based approaches to safety. During my tenure, I advocated
               for the detection of organizational contributions to front-line operator error and for the
               recognition of the socially situated nature of safety-critical work. I integrated the use of
               protocols developed in the aviation environment and the social sciences to be adapted
               to the healthcare environment for patient safety, and collaborative medical rounds.
1996           Writer/Narrator, Protective Headgear Manufacturer’s Association training video.
               Training video teaching helmet manufacturers interview techniques for accident victims
               and data recording for accident causal factors and analysis.
               Spokesperson/Copilot/Safety Coordinator, 1996 Staggerwing Beech Commemorative
               Tour. Cross country tour of 38 vintage Staggerwing aircraft and other escorts to recreate
               1936 Bendix Transcontinental Race.
1994           The Women’s Network, Talk Show, Hollywood, CA. Showcasing women’s roles in
               aviation and educating women on careers in aviation.
1993           Aviation Career Education (ACE) Camp Counselor, Federal Aviation Administration
               aviation camp for teens to discover the basics of aviation as a career choice.
1991-1994      Special Effects/Moulage Designer, Accident Advisor, Airport Disaster Response
               Exercise. Mass casualty, disaster feasibility study, Pease ANG base, Portsmouth, NH.
               First study of this kind in the seacoast area. Director of victim trauma simulation.
               Designer/fabricator of prosthetic injuries.




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